                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

                                         :
UNITED STATES OF AMERICA,                :
                                         :
v.                                       :
                                         :
ALLEN J. PENDERGRASS,                    :         CIVIL ACTION NO.
                                         :         1:17-CR-224-AT-1
                                         :
      Defendant.                         :

                                      ORDER

      This matter is before the Court on the Government’s motions in limine to

permit the admission of evidence under Fed. R. Evid. 404(b) [Docs. 71, 73] and

Defendant’s response. [Doc. 191]. The Court’s rulings are set forth below.

I. Introduction

      The Indictment in the present action charges Mr. Pendergrass with five

counts of mail fraud, one count of conspiracy to engage in money laundering, and

four counts of aggravated identity theft. (Indictment, Doc. 1.) The Indictment

alleges that Mr. Pendergrass and his co-defendant Mr. McQueen, from a date

unknown to April 2014, inter alia (1) mailed correspondence and limited power

of attorney forms to government agencies fraudulently claiming that Defendants’

companies were agents of the rightful owners of unclaimed funds and (2) then

deposited these fraudulently obtained funds. (Indictment at 1, 6.B, 6.E.) The

specific mailings cited in the five mail fraud charges all concern funds sent by the

City of Atlanta Finance Department.
      In the motions presently before the Court, the Government seeks to

introduce evidence of two prior convictions and five other crimes, wrongs, or acts

committed by Mr. Pendergrass. In support, the Government contends that the

two prior convictions are permissible 404(b) evidence, while the five “other bad

acts” are “intrinsic to the charged offenses” and therefore not subject to the

requirements of 404(b). (See generally Gov. Mot., Doc. 73.) Alternatively, the

Government argues that, even if the “other bad acts” are not considered intrinsic

to the charged crimes, they are admissible 404(b) evidence. (Id. at 21.) Mr.

Pendergrass objects to the introduction of any uncharged conduct or past

convictions, arguing that (1) the prior convictions do not satisfy the requirements

of Rule 404(b) and are improper propensity evidence and (2) the “other bad acts”

are not intrinsic to the charged conduct and are instead irrelevant, untimely, and

unduly prejudicial. (See Def. Resp., Doc. 191.) The Court held a pretrial

conference on November 17, 2021, at which the parties presented extensive

argument on these issues.

II. Legal Standard

      Federal Rule of Evidence 404(b) provides that evidence of “any other

crime, wrong, or act is not admissible to prove a person’s character in order to

show that on a particular occasion the person acted in accordance with the

character.” Fed. R. Evid. 404(b)(1). Even so, the evidence “may be admissible for

another purpose, such as proving motive, opportunity, intent, preparation, plan

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knowledge, identity, absence of mistake, or lack of accident.” Fed. R. Ev.

404(b)(2). Under the rule, the Government may introduce evidence of a prior or

uncharged act if it demonstrates: (1) that the evidence is relevant to a material

issue other than the defendant’s character; (2) that the prior act occurred and

that the defendant was the actor; and (3) that the probative value of introducing

the evidence outweighs any prejudicial effect the evidence might have. United

States v. Cancelliere, 69 F.3d 1116, 1124 (11th Cir. 1995); United States v.

Kapordelis, 569 F.3d 1291, 1313 (11th Cir. 2009).

      Rule 404(b), however, does not apply where the Government seeks to

introduce evidence of an “uncharged offense that arose out of the same

transaction or series of transactions as the charged offense, if it was inextricably

intertwined with the evidence regarding the charged offense, or if it is necessary

to complete the story of the crime” at trial. United States v. Chandler, 996 F.2d

1073, 1101 (11th Cir. 1993). Evidence admitted as “inextricably intertwined” with

the charged offense is nevertheless subject to Fed. R. Evid. 403’s balancing

requirement. United States v. Church, 955 F.2d 688, 700 (11th Cir. 1992); Fed. R.

Evid. 403 (“The court may exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

or needlessly presenting cumulative evidence.”).



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III.   Discussion

       A. The Colorado and Ohio Convictions

       The Government seeks to introduce two of Mr. Pendergrass’s prior

convictions. First, the Government seeks to introduce Mr. Pendergrass’s 2015

conviction from Larimer County, Colorado for one count of felony theft. (Gov.

Mot., Doc. 73 at 4.) The Colorado state-court criminal complaint alleged that,

from April 3, 2013 to until or about May 2013, Mr. Pendergrass, through his

company, defrauded the City of Fort Collins, Colorado by forging and mailing

documents to the City of Fort Collins fraudulently claiming to be the agent of an

individual entitled to unclaimed government funds. (Id. at 5.) Second, the

Government seeks to introduce Mr. Pendergrass’s 2015 conviction for bank fraud

in the Southern District of Ohio, where the indictment alleged that Mr.

Pendergrass deposited stolen U.S. Treasury checks and produced false

documents to banks in connection with the checks. (Id.)

       As the Court indicated at the pretrial conference, it will allow the

Government to introduce evidence of the Colorado conviction but not the Ohio

conviction. After hearing argument from counsel, the Court concludes that the

Colorado conviction is introduced for a proper purpose: to show Mr.

Pendergrass’s intent and knowledge in connection with the charged crimes,

which are highly similar to the allegations in the Colorado complaint. Like the

charges in the Colorado complaint, the Indictment in this case involves alleged

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attempts to defraud a local government through forged correspondence and fake

power of attorney documents, all occurring during the same time frame as the

charged conduct in the Indictment. Evidence of the Colorado conviction is

therefore presented for an appropriate purpose under the first prong of the

404(b) analysis. See United States v. Ellisor, 522 F.3d 1255, 1267-68 (11th Cir.

2008) (finding that past incident of promoting illusory special event was relevant

to defendant’s intent to commit charged crime of selling tickets to fake Christmas

show); United States v. Sanchez, 790 F.2d 1561, 1564 (11th Cir. 1986) (holding

that prior money laundering scheme was properly admitted to prove intent and

knowledge where conspiracy “was similar in time and form to the charged

conspiracy, and, as such, aided in establishing that [defendant] acted with

knowledge that his actions were illegal”); United States v. Edouard, 485 F.3d

1324, 1344 (11th Cir. 2007) (noting that where intent is a material issue, “where

the state of mind required for the charged and extrinsic offenses is the same, the

first prong of the Rule 404(b) test is satisfied”).

      As to the second prong of the analysis, the Court finds that there is

sufficient proof for a jury to find that Mr. Pendergrass committed the acts alleged

in the Colorado complaint, as he pled guilty in that case.

      As to the third balancing prong, the Court finds that the probative value of

the Colorado conviction outweighs any prejudicial effect at this juncture.

Cancelliere, 69 F.3d at 1124; Fed. R. Civ. P. 403. Even so, the Court is mindful

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that where the government “has a strong case without the extrinsic offense, then

the prejudice to the defendant will more likely outweigh the marginal probative

value.” United States v. Jones, 28 F.3d 1574, 1581 (11th Cir. 1994), modified on

other grounds, 74 F.3d 275 (11th Cir. 1996). “In other words, if the government

can do without such evidence, fairness dictates that it should . . .” Id. (internal

citation omitted). In light of this principle, the Court advises that the Government

should plan to present evidence of the Colorado conviction near the end of its

case. At that time, the Court will reconsider whether the probative value of the

Colorado conviction still outweighs any prejudicial impact in light of the other

evidence presented.

      The Court will not admit evidence of the Ohio conviction, which does not

involve allegations as factually analogous to the ones at issue in the present case.

The Ohio conviction therefore is not relevant to show knowledge and intent in the

same manner as the Colorado conviction. Because the Ohio conviction is not

presented for proper purpose, it is not admissible 404(b) evidence.

      B. The Other Bad Acts

      The Government also seeks to introduce evidence of five “other bad acts.”

Four of these “other bad acts” concern attempts to defraud the City of Atlanta.

One concerns an attempt to defraud the government of Harris County, Texas.

(Gov. Mot., Doc. 73 at 6-10.) As alleged by the Government, these incidents can

be summarized as follows:

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1. Wiesman,      From date unknown until August 2013, Mr. Pendergrass,
   Nowack,       through his company, forged and mailed correspondence,
   Curry, and    including limited power of attorney forms (1) claiming that his
   Wilco         company was the agent of law firm Wiesman, Nowack, Curry,
                 and Wilco and (2) directing the City of Atlanta to send money
                 to Defendant’s company.
2.   Quarterback From date unknown until March 2013, Mr. Pendergrass forged
     Club        and mailed correspondence, including limited power of
                 attorney forms, (1) claiming that his business was the agent of
                 the Atlanta Quarterback Club and (2) directing City of Atlanta
                 to send money to Defendant’s company.
3.   Lee Family  From date unknown until July 2014, Mr. Pendergrass forged
     Trust       and mailed correspondence, including limited power of
                 attorney forms, claiming that his business was the agent of the
                 Lee Family Trust. Additionally, Mr. Pendergrass contacted and
                 negotiated with local attorney Cohen to set up a trust bank
                 account to deposit funds from Harris County.
4.   Holland and In January 2013, Mr. Pendergrass directly participated in a
     Knight      scheme to falsify documents to defraud City of Atlanta in
                 claiming that Defendant’s business was agent of Holland and
                 Knight.
5.   Hemisphere, In October 2012, Mr. Pendergrass sent fraudulent
     Inc.        correspondence and power of attorney forms to City of Atlanta,
                 falsely claiming to be the agent of Hemisphere Inc.


       Upon review of the Indictment, and after hearing argument from counsel,

the Court finds that all five alleged “bad acts” are “inextricably intertwined” with

the evidence regarding the charged offenses. Chandler, 996 F.2d at 1101; United

States v. US Infrastructure, Inc., 576 F.3d 1195, 1210 (11th Cir. 2009) (“Rule

404(b) does not apply when the other act evidence is linked in time and

circumstances with the charged crime and concerns the context, motive or setup

of the crime; or forms an integral part of the crime; or is necessary to complete

the story of the crime.”). Four of the “other bad acts” involve alleged attempts to

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defraud the City of Atlanta within the same time period as the allegations in the

Indictment. As counsel for the Government demonstrated at the pretrial

conference, the allegedly forged documents pertaining to the charged offenses

(e.g. power of attorney forms) are materially the same as the documents

pertaining to the “other bad acts.” For these reasons, the Court concludes that the

uncharged City of Atlanta offenses were “linked in time and circumstances with

the charged crime,” were part of the same scheme, and were inextricably

intertwined. Id. While the Lee Family Trust “bad act” involved an alleged attempt

to defraud Harris County, Texas and not the City of Atlanta, it also occurred in

the same time span as the charged conduct and involved the same scheme,

including the use of similar documents. Under the circumstances and in light of

the governing authority in this Circuit, the Court finds that the Lee Family Trust

incident is also “inextricably intertwined” such that it is not extrinsic evidence

proscribed by Rule 404. See US Infrastructure, 576 F.3d at 1210 (holding that

evidence of uncharged bribe during same time period as charged bribe was

inextricably intertwined).1

       As noted, evidence that is “inextricably intertwined” with the charged

conduct is still subject to Rule 403 balancing. Church, 955 F.2d at 700. The Court

is cognizant that Rule 403 “must be used sparingly because it results in the

1The Government also argues that the evidence of the five “other bad acts” is relevant to provide
the context for the relationship between Mr. Pendergrass and his co-defendant Mr. McQueen in
connection with the charged crimes.

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exclusion of concededly probative evidence.” US Infrastructure, 576 F.3d at 1211.

At this juncture, the Court declines to exclude the relevant “other bad acts”

evidence as prejudicial under Rule 403. However, as trial progresses, the Court

will continue to evaluate whether the evidence and testimony is substantially

outweighed by a danger of unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.

IV.   Conclusion

      In sum, the Court will allow the Government to present evidence of the

Colorado conviction but not the Ohio conviction under Fed. R. Evid. 404(b). The

Court also finds that the five “other bad acts” are not extrinsic evidence subject to

Rule 404(b) and are instead intrinsic and “inextricably intertwined” to the

conduct charged in the Indictment. Therefore, these five “other bad acts” are

admissible, subject to the Rule 403 concerns discussed above. For these reasons,

the Court GRANTS IN PART AND DENIES IN PART the Government’s

motions in limine to permit the admission of 404(b) evidence [Docs. 71, 73].



      IT IS SO ORDERED this 19th day of November 2021.




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                                       Amy Totenberg
                                       United States District Judge


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